           Case 1:20-cv-02769-VSB Document 17 Filed 05/07/20 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                         5/7/2020
JOHN STANISE,                                             :
                                                          :
                                        Plaintiff,        :
                                                          :      20-CV-2769 (VSB)
                      -against-                           :
                                                          :            ORDER
VICTOR LORIA,                                             :
                                                          :
                                        Defendant. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        On May 5, 2020, I directed the parties to meet and confer and submit a joint letter setting

forth a briefing schedule and available dates for a hearing in connection with Defendant’s motion

to transfer venue and motion for a temporary restraining order and preliminary injunction

(“Defendant’s Motions”). (Doc. 14.) On May 6, 2020, the parties submitted separate letters

stating that they could not come to an agreement and setting forth their respective proposed

briefing schedules. (Docs. 15, 16.) Because Defendant has not provided a compelling reason

why his application should be heard on more accelerated schedule than the one set forth in his

moving papers, and because it serves the interests of judicial economy and efficiency to

consolidate the motions together, it is hereby:

        ORDERED that the parties shall proceed according to the briefing schedule proposed by

Plaintiff, as follows:

                By May 19, 2020, Plaintiff shall submit his opposition to Defendant’s Motions

                 along with his proposed cross-motion for a temporary restraining order and a

                 preliminary injunction.
          Case 1:20-cv-02769-VSB Document 17 Filed 05/07/20 Page 2 of 2



              By May 26, 2020, Defendant shall submit any reply in further support of his

               Motions along with his opposition to Plaintiff’s cross-motion.

              By June 2, 2020, Plaintiff shall submit any reply in further support of his cross-

               motion.

       IT IS FURTHER ORDERED that the parties shall appear for a telephonic hearing on all

pending motions on June 10, 2020, at 3:00 p.m.

       IT IS FURTHER ORDERED that the parties shall take care to adhere in the future to all

instructions and orders of this Court.

SO ORDERED.

Dated: May 7, 2020
       New York, New York

                                                     ______________________
                                                     Vernon S. Broderick
                                                     United States District Judge
